        Case 4:10-cr-00294-JLH       Document 172        Filed 04/07/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                NO. 4:10CR00294-02 JLH

KAMERON NORRIS                                                                   DEFENDANT

                                           ORDER

        The government’s motion to dismiss petition to revoke is GRANTED. Document #171. The

petition to revoke as to Kameron Norris is hereby dismissed without prejudice. Document #156.

The hearing previously scheduled for Monday, April 11, 2016, is hereby cancelled and the summons

is recalled.

        IT IS SO ORDERED this 7th day of April, 2016.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
